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Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 1 of 27

LOREN S. YOUNG, ESQ.

Nevada Bar No. 7567

LINCOLN, GUSTAFSON & CERCOS, LLP
ATTORNEYS AT LAW

3960 Howard Hughes Parkway, Suite 200

Las Vegas, Nevada 89169

Telephone: (702) 257-1997

Facsimile: (702) 257-2203
lyoung@lgclawoffice.com

Attorneys for Defendant, TARGET CORPORATION

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
PATRIC LAMB, CASE NO.:
Plaintiff,
DECLARATION OF LOREN S.
Vv. YOUNG IN SUPPORT OF NOTICE OF
REMOVAL OF ACTION UNDER 28
TARGET CORPORATION, a Foreign U.S.C. § 1441(b) (DIVERSITY)

Corporation; DOES 1-20, and ROE BUSINESS
ENTITIES 1-20,

Defendants.

 

 

I, LOREN S. YOUNG, declare as follows:

l. Iam an attorney duly licensed to practice law before all the courts of the State of Nevada
and the United States District Court for the District of Nevada. Iam a partner in the law firm of Lincoln,
Gustafson & Cercos, LLP, attorneys of record for Defendant TARGET CORPORATION (hereinafter,
“Defendant” or “Target”). I am personally familiar with the within stated facts and would and could
testify based upon personal knowledge of the same, and as to those facts stated on information and
belief, I believe them to be true.

2. A true and correct copy of the Complaint filed by Plaintiff Patric Lamb (hereinafter,

“Plaintiff’) in the District Court of Clark County, State of Nevada, entitled Patric Lamb v. Target

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DECLARATION OF LOREN S. YOUNG IN SUPPORT OF NOTICE OF REMOVAL OF
ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)

 
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Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 2 of 27

Corporation, a Foreign Corporation, Does 1-20, and Roe Business Entities 1-20, Case No. A-20-
810292-C (“Complaint”), is attached hereto as Exhibit “A.”

3, A true and correct copy of the Summons that was served with the above-referenced
Complaint on Defendant is attached hereto as Exhibit “B.”

4. On information and belief, Defendant was served with a copy of the Summons and
Complaint on or about February 12, 2020.

5. The amount in controversy is not stated in the Complaint. The Complaint states that
Plaintiff seeks general and special damages in excess of $15,000.

6. After being served with Plaintiff's Complaint, Target’s counsel sent Plaintiff's counsel
an email on February 25, 2020, requesting a discussion regarding this lawsuit as Target Corporation
and Target’s counsel have little information on this matter outside of the Complaint filed on February
11, 2020. On February 25, 2020, Plaintiff's counsel responded to Target’s counsel that Plaintiff
presently has $47,331.23 in medical expenses. Accordingly, it appears that Plaintiff in fact does seek
damages in excess of $75,000.00 in this matter.

7. A true and correct copy of Target’s February 25, 2020 email to Plaintiff's counsel
regarding requesting a discussion regarding this lawsuit is attached hereto as Exhibit “C.”

8. A true and correct copy of Plaintiff's counsel’s email dated February 25, 2020 indicating
Plaintiff presently has $47,331.23 in medical expenses is attached hereto as Exhibit “D.”

9. Defendant Target Corporation’s Answer to Plaintiff's Complaint was filed and served
on March 3, 2020.

10. _ A true and correct copy of Defendant’s Answer is attached hereto as Exhibit “E.”

11. On information and belief, Defendant was and is a corporation incorporated under the
laws of the State of Minnesota, having its principal place of business in the State of Minnesota, and is
the only Defendant that has been served with the Summons and Complaint in this action.

12. | On information and belief, Defendant’s corporate headquarters are located in the State
of Minnesota, where the company’s executive and administrative functions are performed.

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DECLARATION OF LOREN S. YOUNG IN SUPPORT OF NOTICE OF REMOVAL OF
ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)

 
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Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 3 of 27

13. This Notice of Removal is filed less than one (1) year after the commencement of the
action.

14. This case is filed within thirty (30) days after service of Plaintiffs Complaint and within
(30) days after it became first ascertained that the amount in controversy requirement is satisfied for
the reasons set forth above and in the Notice of Removal filed herewith.

15. Defendant is serving a written notice of the removal to all adverse parties, including
Plaintiff, and will file a copy of the notice with the clerk of the District Court of Clark County, State of
Nevada, where this action is currently pending.

I declare under penalty of perjury under the laws of the United States and the State of Nevada
that the foregoing is true and correct, and if called upon to testify to the facts thereto, could and would
do so competently.

Executed on March 12, 2020, in Las Vegas, Nevada.

RL

LOREN S. YQONG

 

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DECLARATION OF LOREN S. YOUNG IN SUPPORT OF NOTICE OF REMOVAL OF
ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY)

 

 

 

 
Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 4 of 27

Exhibit “A”
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2-25-2020

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Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 5 of 27

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Steven D. Grierson

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RICHARD A. HARRIS, ESQ.
Nevada State Bar No.: 550
CHARLES S. JACKSON, ESQ.

Nevada State Bar No.: 13158 CASE NO: A-20-810292-C
RICHARD HARRIS LAW FIRM Department 16
801 South Fourth Street

Las Vegas, Nevada 89101

Phone (702) 444-4444
Fax (702) 444-4455
Email: charlie@richardharrislaw.com

Attorneys for Plaintiff
DISTRICT COURT
CLARK COUNTY, NEVADA
PATRIC LAMB, individually; im CASE NO.:
DEPT. NO.:

Plaintiff,

vs.
COMPLAINT
TARGET CORPORATION, A Foreign
Corporation; DOES 1-20 and ROE BUSINESS
ENTITIES 1-20;

Defendants.

 

 

Plaintiff PATRIC LAMB, by and through his attomeys of record, Charles S. Jackson, Esq.
of THE RICHARD HARRIS LAW FIRM, complains against Defendants, an cach of them, as
follows:

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Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 6 of 27

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GENERAL ALLEGATIONS

That Plaintiff PATRIC LAMB (hereinafter “Plaintiff’) is, and at all times
mentioned hercin was, a resident of Clark County, Nevada.

That Defendant TARGET CORPORATION (Defendant TARGET) is, and at all
times mentioned hercin was, a forcign corporation or other business cntity,
licensed to do business in the County of Clark, State of Nevada and owns the
property located at 605 N. Stephanie Street, Henderson, Nevada 89014 (“the
Property”).

That Defendants DOES 1-5 and ROE BUSINESS ENTITIES 1-5 are other owners
or operators of the Property.

That Defendants DOES 6-10 and ROE BUSINESS ENTITES 6-10 are the
managers or controllers of common areas of the Property.

That Defendants DOES 11-15 and ROE BUSINESS ENTITIES 11-15 are the
designers and maintenance providers for the Property.

That Defendants DOES 16-20 and ROE BUSINESS ENTITIES 16-20 are the
construction companies, sub-contractors, vendors, inspectors or other persons
responsible for the installation and construction of the area on the Property where
the subject incident occurred.

That the true names and capacities of the Defendants designated herein as DOE or
ROE CORPORATIONS are presently unknown to Plaintiff at this time, therefore,
Plaintiff sues said Defendants by fictitious names. When the truc namcs and
capacitics of these defendants are ascertained, Plaintiff will amend this Complaint
accordingly.

That at all times pertinent, Defendants were agents, servants, employees or joint

venturers of every other Defendant herein, and at all times mentioned herein were

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acting within the scope and course of said agency, employment, or joint venture,
with knowledge and permission and consent of all other named Defendants.
Plaintiff alleges that cach of the Defendants designated as DOE or ROE
Defendants is responsible in some manner for the damages alleged hercin.

That on or about April 20, 2018, in Clark County, Nevada, PATRIC LAMB was
lawfully present at the Property. ,

PATRIC LAMB was walking out of the restroom on the Property and slipped and
fell on a liquid on the floor.

Defendants knew that the flooring posed a continuing dangcrous condition to
Plaintiff and other similarly situated when it was wet.

Defendants maintained'and were in control of the Property.

Defendants failed to follow their own policies and procedures and continually
failed to follow their own policies and procedures such that the risk of the wet
floor posed a permanent dangerous condition to Plaintiff and others similarly
Situated. —

Defendants hai insufficient policies and procedures to protect Plaintiff and others
similarly situated from slips and falls on wet flooring like the one Plaintiff
suffered.

Defendants, and each of them, failed to place signs, caution, warn, or otherwise
make safe, the dangerous condition cxisting on or about the Property.

Defendants negligently, carelessly, and recklessly maintained the area on the
Property at or near the area where Plaintiff fell.

Defendants, and each of them, should have warned or otherwise made safe the
dangerous condition because that condition was non-obvious to Plaintiff.

That as a direct and proximate result of the negligence of all Defendants, Plaintiff

sustained injuries to his back, hip, bodily limbs, organs and systems, all or some

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Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 8 of 27

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of which condition may be permanent and disabling, and all to Plaintiff's damage
in a sum in excess of $15,000.
That as a dircct and proximate rcsult of the negligence of all Defendants, Plaintiff
received medical and other trearment for the aforementioned injurics, and that said
services, care, and treatment are continuing and shall continue in the future, all to
the damage of Plaintiff.
That as a direct and proximate result of the negligence of all Defendants, Plaintiff
has been required to, and has limited occupational and recreational activities,
which have caused and shall continue to cause Plaintiff physical impairment,
mental anguish, and loss of enjoyment of life, in a presently unascertainable
amount. -
That as a direct and proximate result of the aforementioned negligence of all
Defendants, Plaintiff has been required to engage the services of an attorney,
incurring attorney's fees and costs to bring this action.

FIRST CAUSE OF ACTION

(Negligence)

Plaintiff hereby incorporates the foregoing paragraphs as if fully set forth herein.
Defendants owed Plaintiff a duty of care to warm Plaintiff of the non-obvious and
dangerous conilition.
Defendants breached this duty of care by failing to place caution signs, or
otherwise failing to warn Plaintiff of the dangerous, non-obvious condition.
Defendants’ negligence directly and proximately caused Plaintiff serious injury.
As a direct anc: proximate result of Defendants’ negligence, Plaintiff sustained

damages in a sum in excess of $15,000.

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Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 9 of 27

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PRAYER FOR RELIEF
WHEREFORE, Plaintiff, expressly reserves the right to amend this Complaint prior to
or at the time of trial of this artion to insert thusc items of damage not yct fully ascertainable,
prays judgment against the Defendants, and cuch of them, as follows:
1. For special damages sustained by Plaintiff in excess of $15,000.00;
For general damages sustained by Plaintiff in excess of $15,000.00;
For reasonable attorney’s fees and costs of suit;

For interest at the statutory raté, and

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For such other relief as the Court deems just and proper.

Dated this 11th day of February, 2020.
RICHARD HARRIS LAW FIRM

4s/ Charles Jackson

 

CHARLES S. JACKSON, ESQ.
Nevada Bar No.: 13158

801 South Fourth Street

Las Vegas, Nevada 89101
Attorneys for Plaintiff

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2-25-2020

LAW FIRM

Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 10 of 27

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DEMAND FOR JURY TRIAL
Plaintiff, by and through his attorneys of record, RICHARD HARRIS LAW FIRM,
hereby demands a jury trial of‘all of the issues in the above matter.
DATED this | ith day of February, 2020.
RICHARD HARRIS LAW FIRM

£8/ CHARLES JACKSON

 

CHARLES S. JACKSON, ESQ.
Nevada Bar No. 13158

301 South Fourth Street

Las Vegas, Nevada 89101
Attorneys for Plaintiff

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Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 11 of 27

Exhibit ““B”’
Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 12 of 27

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DISTRICT COURT
CLARK COUNTY, NEVADA
PATRIC LAMB, individually;
Plaintiff, CASE NO: A-20-810292-C
Department 16 ©
vs.

CTARGET CORPORATION) Foreign | Case No.:
orporation; DOES 1-20 and ROE Dept No.:
BUSINESS ENTITIES 1-20; .
Defendants. SUMMONS

 

 

NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU WITHOUT YOUR
BEING HEARD UNLESS YOU RESPOND WITHIN 20 DAYS. READ THE INFORMATION BELOW

To THE DEFENDANT(S): A civil Complaint has been filed by the Plaintiff{s) against you for the relicf set forth in the
Complaint.

TARGET CORPORATION

1. If you intend to defend this lawsuit, within 20 days after this Summons is served on you, exclusive of the day of
service, you must do the following:

a. File with the Clerk of this Court, whose address is shown below, a formal written response to the
Complaint in accordance with the rules of the Court, with the appropriate filing fee.
b. Serve a copy of your response upon the attorney whose name and address is shown below.

2. Unless you respond, your default will be entered upon application of the Plaintiff{s) and this Court may enter a
judgment against you for the relicf demanded in the Complaint, which could result in the taking of moncy or property or
other relief requested in the Complaint.

3. If you intend to seek the advice of an attorney in this matter, you should do so promptly so that your response
may be filed on time.

4, The State of Nevada, its political subdivisions, agencies, officers, employees, board members, commission
members and legislators, cach have 45 days after service of this summons within which to file an answer or other
responsive pleading to the complaint. .

 

 

Issued at the direction of STEVEN D. GRIERSON
RICHARD HARRIS LAW FIRM CLERK OF C yar ,
e 3 ,

Charles S. Jackson, Esq. Deputy os Met "Date
Nevada Bar No. 13158 . Marie Kramer . oe

801 South 4" Street nas

Las Vegas, Nevada 89101 “

2-25-2020 000315652G0001 6020200225032467

Case Number: A-20-810292-C
Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 13 of 27

Exhibit “°C”
Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 14 of 27

Barbara Pederson

From: Loren Young

Sent: Tuesday, February 25, 2020 3:30 PM
To: charlie@richardharrislaw.com

Ce: Barbara Pederson

Subject: Lamb, Patric v. Target

Hello Mr. Jackson:

My firm was recently retained to represent Target Corporation in this matter. | would like to discuss the case
as | have little information outside of the complaint. When do you have some time to talk?

Loren S. Young, Esq.

Managing Partner - Nevada

LINCOLN, GUSTAFSON & CERCOS LLP
Experience. Integrity. Results.
California Nevada Arizona

 

550 West “C” Street, Suite 1400 3960 Howard Hughes Parkway, Suite 200 2415 E. Camelback Rd., Suite 700

San Diego, California 92101 Las Vegas, Nevada 89169 Phoenix, Arizona 85016
619.233.1150; 619.233.6949 Fax 702.257.1997; 702.257.2203 Fax 602.606.5735; 602.508.6099 Fax

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Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 15 of 27

Exhibit “‘D”’
Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 16 of 27

Barbara Pederson

From: Charlie Jackson <Charlie@richardharrislaw.com>
Sent: Tuesday, February 25, 2020 5:02 PM

To: Loren Young

Ce: Barbara Pederson

Subject: RE: Lamb, Patric v. Target

Mr. Lamb underwent a leg injury which ultimately required a surgery. He presently has $47,331.23 in medical
expenses. However, to my knowledge he does not need to continue with medical treatment, at this time.

Charles Jackson
Attorney

RICHARD HARRIS
LAW FTRAI

801 South 4th Street Las Vegas, NV 89101
tel (702) 444-4444 : fax (702) 444-4455

 

4-800-LawTigers

 

From: Loren Young <lyoung@lgclawoffice.com>

Sent: Tuesday, February 25, 2020 4:50 PM

To: Charlie Jackson <Charlie@richardharrislaw.com>
Cc: Barbara Pederson <BPederson@lgclawoffice.com>
Subject: Re: Lamb, Patric v. Target

Thanks for the response. The only information | have so far is from the complaint that Plaintiff fell either near
or inside the restroom. So any information and details regarding what happened and about Plaintiff like
plaintiff's age, DOB, address, alleged injuries and the alleged damages, and what is Plaintiff's current condition
(is he still treating or are the injuries resolved). My client wants to evaluate whether this case should be
removed to Federal Court based on the damages.

| appreciate the information and look forward to working with you on this matter.

Loren S. Young, Esq.

Managing Partner - Nevada
Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 17 of 27
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consult your tax advisors. You are not authorized to forward this email or attachments to anyone without the express written
consent of the sender.

 

From: Charlie Jackson <Charlie@richardharrislaw.com>
Sent: Tuesday, February 25, 2020 4:32 PM

To: Loren Young <lyoung@lgclawoffice.com>

Cc: Barbara Pederson <BPederson@lgclawoffice.com>
Subject: RE: Lamb, Patric v. Target

Hey Mr. Young,

| am pretty busy but | may be able to speak to you tomorrow or Friday regarding this claim. Do you have any particular
questions | can answer via email?

Thank you,

Charles Jackson
Attorney

 

 

 

 

801 South 4th Street Las Vegas, NV 89101
tel (702) 444-4444 | fax (702) 444-4455

 

 

 

 

 
Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 18 of 27

      

From: Loren Young <lyoung@Igclawoffice.com>

Sent: Tuesday, February 25, 2020 3:30 PM

To: Charlie Jackson <Charlie@richardharrislaw.com>
Cc: Barbara Pederson <BPederson@lgclawoffice.com>
Subject: Lamb, Patric v. Target

Hello Mr. Jackson:

My firm was recently retained to represent Target Corporation in this matter. | would like to discuss the case
as | have little information outside of the complaint. When do you have some time to talk?

Loren S. Young, Esq.

Managing Partner - Nevada

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Exhibit “SE”
 

Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 20 of 27

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LOREN S. YOUNG, ESQ.

Nevada Bar No. 7567

LINCOLN, GUSTAFSON & CERCOS, LLP
ATTORNEYS AT LAW

3960 Howard Hughes Parkway, Suite 200

Las Vegas, Nevada 89169

Telephone: (702) 257-1997

Facsimile: (702) 257-2203
lyoung@|gclawoffice.com

Attorneys for Defendant, TARGET CORPORATION

DISTRICT COURT

CLARK COUNTY, NEVADA

PATRIC LAMB, individually, CASE NO.: A-20-810292-C
Plaintiff, DEPT. NO.: 16
Vv. DEFENDANT TARGET
CORPORATION’S ANSWER TO
TARGET CORPORATION, a Foreign PLAINTIFE’S COMPLAINT

Corporation; DOES 1-20, and ROE BUSINESS
ENTITIES 1-20,

Defendants.

 

 

COMES NOW, Defendant, TARGET CORPORATION (hereinafter “DEFENDANT”), by
and through its counsel of record, the law firm of LINCOLN, GUSTAFSON & CERCOS, LLP, and
responds to Plaintiff's Complaint, and admits, denies and alleges as follows:

GENERAL ALLEGATIONS

1, In answering the allegations in Plaintiff's Complaint, Paragraph 1, this answering
Defendant is without sufficient knowledge and information necessary to form a belief as to the truth
or veracity of said allegations and on that basis therefore denies the same.

2. In answering the allegations in Plaintiffs Complaint, Paragraph 2, this answering
Defendant admits that Target Corporation was a foreign corporation licensed to do business in the

County of Clark, State of Nevada. This answering Defendant denies the remaining averments.

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Case Number: A-20-870292-C

 

 

 

 
 

Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 21 of 27

3. In answering the allegations in Plaintiff's Complaint, Paragraph 3, this answering
Defendant is without sufficient knowledge and information necessary to form a belief as to the truth
or veracity of said allegations and on that basis therefore denies the same.

4. In answering the allegations in Plaintiffs Complaint, Paragraph 4, this answering
Defendant is without sufficient knowledge and information necessary to form a belief as to the truth
or veracity of said allegations and on that basis therefore denies the same.

5. In answering the allegations in Plaintiff's Complaint, Paragraph 5, this answering
Defendant is without sufficient knowledge and information necessary to form a belief as to the truth
or veracity of said allegations and on that basis therefore denies the same.

6. In answering the allegations in Plaintiff's Complaint, Paragraph 6, this answering
Defendant is without sufficient knowledge and information necessary to form a belief as to the truth
or veracity of said allegations and on that basis therefore denies the same.

7. In answering the allegations in Plaintiffs Complaint, Paragraph 7, this answering
Defendant is without sufficient knowledge and information necessary to form a belief as to the truth
or veracity of said allegations and on that basis therefore denies the same.

8. In answering the allegations in Plaintiff's Complaint, Paragraph 8, this answering
Defendant is without sufficient knowledge and information necessary to form a belief as to the truth
or veracity of said allegations and on that basis therefore denies the same.

9. In answering the allegations in Plaintiff's Complaint, Paragraph 9, this answering
Defendant is without sufficient knowledge and information necessary to form a belief as to the truth
or veracity of said allegations and on that basis therefore denies the same.

10. ‘In answering the allegations in Plaintiffs Complaint, Paragraph 10, this answering
Defendant is without sufficient knowledge and information necessary to form a belief as to the truth
or veracity of said allegations and on that basis therefore denies the same.

11. In answering the allegations in Plaintiff's Complaint, Paragraph 11, this answering
Defendant is without sufficient knowledge and information necessary to form a belief as to the truth
or veracity of said allegations and on that basis therefore denies the same.

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Case 2:20-cv-00514-GMN-VCF Document 1-2 Filed 03/12/20 Page 22 of 27

12, In answering the allegations in Plaintiff's Complaint, Paragraph 12, this
Defendant denies the allegations contained therein.

13. In answering the allegations in Plaintiff's Complaint, Paragraph 13, this
Defendant admits the allegations contained therein.

14. In answering the allegations in Plaintiff's Complaint, Paragraph 14, this
Defendant denies the allegations contained therein.

15. _In answering the allegations in Plaintiffs Complaint, Paragraph 15, this
Defendant denies the allegations contained therein.

16. In answering the allegations in Plaintiff's Complaint, Paragraph 16, this
Defendant denies the allegations contained therein.

17. In answering the allegations in Plaintiffs Complaint, Paragraph 17, this
Defendant denies the allegations contained therein.

18. In answering the allegations in Plaintiff's Complaint, Paragraph 18, this
Defendant denies the allegations contained therein.

19. _In answering the allegations in Plaintiffs Complaint, Paragraph 19, this
Defendant denies the allegations contained therein.

20. In answering the allegations in Plaintiffs Complaint, Paragraph 20, this
Defendant denies the allegations contained therein.

21. ‘In answering the allegations in Plaintiffs Complaint, Paragraph 21, this
Defendant denies the allegations contained therein.

22. In answering the allegations in Plaintiff's Complaint, Paragraph 22, this
Defendant denies the allegations contained therein.

FIRST CAUSE OF ACTION
(Negligence)

23. In answering the allegations in Plaintiffs Complaint, Paragraph 23 this

Defendant incorporates by reference its responses set forth in paragraphs | through 22.

24. ‘In answering the allegations in Plaintiff's Complaint, Paragraph 24, this

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Defendant states the allegations therein constitute conclusions of law and, thus, require no answer.

 
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However, to the extent they constitute allegations of fact, upon information and belief, Defendant
denies the allegations contained therein.

25. In answering the allegations in Plaintiff's Complaint, Paragraph 25, this answering
Defendant denies the allegations contained therein.

26. In answering the allegations in Plaintiff's Complaint, Paragraph 26, this answering
Defendant denies the allegations contained therein.

27. In answering the allegations in Plaintiff's Complaint, Paragraph 27, this answering
Defendant denies the allegations contained therein.

AFFIRMATIVE DEFENSES
I.

This answering Defendant is informed and believes and thereon alleges that Plaintiff's
Complaint, and each and every cause of action contained therein, fails to state facts sufficient to
constitute a cause of action against this answering Defendant.

IL.

This answering Defendant is informed and believes and thereon alleges that the claims of
Plaintiff are reduced, modified and/or barred by the doctrine of unclean hands of Plaintiff and/or other
entities or individuals, whether or not parties herein.

Til.

This answering Defendant is informed and believes and thereon alleges that the clairas of

Plaintiff are reduced, modified and/or barred by the doctrine of laches.
IV.

This answering Defendant is informed and believes and thereon alleges that Plaintiff, by his
conduct, and/or by the conduct of other entities and/or individuals, whether or not parties herein, are
estopped from asserting any claim(s) for damages or seeking any other relief against this answering
Defendant.

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4.

 

 
 

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V.

This answering Defendant is informed and believes and thereon alleges that the causes of
action set forth in the Complaint are barred pursuant to the provisions of NRS Sections 11.190, 11.202,
11.2055, et seq.

VI.

This answering Defendant is informed and believes and thereon alleges that damages suffered
by Plaintiff, if any, were the direct and proximate result of the negligence of parties, persons,
corporations and/or entities other than this answering Defendant, and that the liability of this answering
Defendant, if any, is limited in direct proportion to the percentage of fault actually attributable to this
answering Defendant.

Vil.

This answering Defendant is informed and believes and thereon alleges that at all times
mentioned herein, Plaintiff was negligent, careless, reckless, and unlawfully conducted himself so as
to directly and proximately contribute to the happening of the incident and the occurrence of Plaintiffs
claimed damages, all of which said negligence either bars completely or partially the damages sought
herein.

VIL.

This answering Defendant is informed and believes and thereon alleges that Plaintiff has failed
to exercise reasonable care and diligence to avoid loss and to minimize damages if any and, therefore,
Plaintiff may not recover for losses which could have been prevented by reasonable efforts on his part,
or by expenditures that might reasonably having been made, and, therefore, Plaintiff's recovery, if
any, should be reduced by the failure of Plaintiff to mitigate his damages.

IX.

This answering Defendant is informed and believes and thereon alleges that the injuries and
damages of which Plaintiff complains were proximately caused by or contributed to by the acts of
other Defendants, persons and/or other entities and that said acts were intervening and superseding
causes of the injuries and damages, if any, of which Plaintiff complains, thus barring Plaintiff from

any recovery against this answering Defendant.

 

 

 
 

 

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X.

This answering Defendant is informed and believes and thereon alleges that Plaintiff expressly,
voluntarily and knowingly assumed all risks about which he complains in his Complaint, and
therefore, is barred either totally or to the extent of said assumption from any damages.

XI.

It has been necessary for this answering Defendant to retain the services of an attorney to

prosecute this action and it is entitled to a reasonable sum as and for attorneys’ fees.
XII.

At all times relevant herein, this answering Defendant acted diligently and with due care in the

performance of any duty owed to Plaintiff, if any.
XIil.

The incident alleged in Plaintiffs Complaint, and resulting damages, if any, were caused or
contributed to by Plaintiff's own negligence which was greater than any negligence attributed to this
answering Defendant, which is expressly denied by this answering Defendant.

XIV.

This answering Defendant is informed and believes and thereon alleges that Plaintiff is barred
from recovery of any special damages for failure to specifically allege the types of special damages
pursuant to NRCP 9(g).

XV.

This answering Defendant alleges that the damages, if any, to Plaintiff, as alleged, were
proximately caused by a new, independent, and efficient intervening cause and not by any alleged
negligence on the part of this answering Defendant.

XVI.

Pursuant to N.R.C.P. 11, as amended, all possible affirmative defenses may not have been
alleged herein insofar as sufficient facts were not available after reasonable inquiry upon the filing of
Defendant’s Answer and, therefore, this answering Defendant reserves the right to amend this Answer

to allege additional affirmative defenses, if subsequent investigation so warrants.

Mf

 

 
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WHEREFORE, Defendant prays for judgment as follows:

1. That Defendant has judgment against Plaintiff dismissing the Complaint on its merits;

2, That Defendant has judgment against Plaintiff for its reasonable attorneys’ fees and
costs of suit; and

3. For such other and further relief as the court deems just and proper.

DATED this 2. day of March, 2020.

LINCOLN, GUS AFSON & CERCOS, LLP
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Nevada Bar 56

3960 Howard Hugties Parkway, Suite 200

Las Vegas, Nevada 89169

Attorneys for Defendant, TARGET CORPORATION

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Patric Lamb v. Target Corporation
Clark County Case No. A-20-810292-C

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on the 3% day of March, 2020, I served a copy of the attached
DEFENDANT TARGET CORPORATION’S ANSWER TO PLAINTIFF’S COMPLAINT via

electronic service to all parties on the Odyssey E-Service Master List as follows:

Charles S. Jackson, Esq.
RICHARD HARRIS LAW FIRM
801 South Fourth Street

Las Vegas, NV 89101
charlie@richardharrislaw.com
Attorneys for Plaintiff

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Bat qu To decen
Barbara J. Pederson, an employee

of the law offices of

Lincoln, Gustafson & Cercos, LLP

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